     Case 1-25-41368-jmm       Doc 41    Filed 04/29/25   Entered 04/29/25 10:16:11




Your honorable,
    Since living at Avon place I have had to deal with growing mold in my apartment. I
have brought it to Avon Place attention and all the do is say they will paint it. I’ve told
them that that is not a solution so I’ve taken it upon myself to consistently scrub it with
bleach or a cleaning vinegar. My half bathroom about every 6 months has water coming
up through the floor they change the wax ring even time. It works but like clock work it
fails. A wax ting should not have to be changed that often. Lastly the pot hole… omg the
pot holes. Tires are expensive and fixing the road in the long run would be much
cheaper for everyone!


Sincerely,
An anonymous renter at Avon Place
